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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                   EUGENE DIVISION

KABRINA BACKER,                                   Case No. 6:20-cv-1056

Plaintiffs,
       v.
                                  COMPLAINT
CITY OF ALBANY, and OFFICER PERRY Violation of Civil Rights (42 U.S.C. §1983) for
BAKER,                            excessive force in violation of the Fourth
                                  Amendment.
Defendants.                       State Tort Claim (Battery)

                                                  DEMAND FOR JURY TRIAL


                                       INTRODUCTION

        This is a Civil Rights and State Tort action stemming from Defendants’ unconstitutional,

unnecessary, and intentional violence against Ms. Backer that caused her serious physical injury

and pain. Defendants wantonly injured Ms. Backer during a traffic stop by swinging her body

and slamming her face against the stirrup of her vehicle. That action caused Ms. Backer severe

emotional and physical injury, and she now sues the Defendants for this violation of her civil

rights and battery.
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                                                JURISDICTION

1.         This court has jurisdiction over the subject matter of this Complaint under 42 U.S.C. §

1983, and 28 U.S.C. §§ 1331, 1343(a)(3), (4), and supplemental jurisdiction over the state law

claims under 28 U.S.C. § 1367(a).

                                                     VENUE

2.         Venue is proper within the District of Oregon because all of the events giving rise to this

claim occurred in this judicial district and all defendants reside in this judicial district. 28 U.S.C.

§ 1391(b). The acts and practices alleged herein occurred in Linn County, Oregon.

                                                    PARTIES

3.         At the time of filing, Plaintiff Kabrina Backer is resident of Linn County, Oregon.

4.         Defendant Officer Perry C. Baker is an officer with the Albany Police Department

(hereinafter, “APD”) during all relevant times. At all times relevant, Officer Baker was acting

under color of state law.

5.         Defendant City of Albany is a political subdivision of the State of Oregon, with the

capacity to sue and be sued. Officer Baker is an agent of Defendant City of Albany.

                                        FACTUAL ALLEGATIONS

6.         On July 1, 2018, Ms. Backer was on the phone standing next to her vehicle outside of

Tom Tom Deli in Albany, Oregon.

7.         Officer Baker arrived at the scene and attempted to stop Ms. Backer on suspicion of

driving while intoxicated, potentially a Class A Misdemeanor.

8.         This incident was video recorded by Officer Baker’s dash camera.1




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    The video was uploaded to YouTube and is available through the hyperlink.
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9.     Officer Baker confronts Ms. Backer at around 1:48 in the dash camera video. Ms. Backer

was still on the phone. Her vehicle door was open at that time.

10.    The Officer appears immediately agitated and displeased that Ms. Backer is still on the

phone. Ms. Backer was not making any threatening gestures nor giving any indication that she

intends to flee the scene. To the contrary, Ms. Backer appears to be concluding her phone call,

and attempts to close her car door so she could talk to the officer at around 2:22. Closing her car

door would make it safer for the officer and Ms. Backer, as she would not be in range of any

weapons within her vehicle, if she had any, or able to get in her vehicle to flee.

11.        Officer Baker then restricts Ms. Backer from closing her car door and, instead, suddenly

grabs Ms. Backer’s wrist, twists it behind her back, then swings Ms. Backer into her own

vehicle.

12.    Her face slams into her vehicle’s stirrup at around 2:27 in the video.

13.    This event was extremely painful for Ms. Backer, both emotionally and physically. It

resulted in a left frontal scalp hematoma, an injured ankle, and ongoing post-concussion issues.

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14.    Ms. Backer took the following picture of her injury:




15.    Following this incident, Officer Baker was never disciplined or subject to any

supervision, training, or review related to this incident.

                                     CLAIMS FOR RELIEF

16.    Defendant Baker is a person within the meaning of 42 U.S.C. 1983.

17.    Plaintiff seeks an award of economic damages, non-economic damages, punitive

damages where appropriate, attorney fees and litigation expenses/costs against defendants.

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                 CLAIM 1: VIOLATION OF FOURTH AMENDEMENT
               (Use of Excessive Force – 42 U.S.C. 1983 – Individual Liability)

18.    It is clearly established law that an officer may not use force that, in light of the

circumstances and as perceivable by a reasonable, objective officer, is excessive and

unnecessary.

19.    In taking the actions described above, including but not limited to twisting Ms. Backer’s

arm and slamming her face into the side of her vehicle, Defendant Baker intentionally violated

Ms. Backer’s right to be free from excessive force, guaranteed by the Fourth Amendment to the

United States Constitution.

20.    Defendant Baker violated rights held by Ms. Backer which were clearly established, and

no reasonable official similarly situated to Defendant Baker could have believed that his or her

conduct was lawful or within the bounds of reasonable discretion. Defendant Baker therefore

does not have qualified or statutory immunity from suit or liability.

21.    The actions of Defendant Baker, as described in this complaint, were malicious,

deliberate, intentional, and embarked upon with the knowledge of, or in conscious disregard of,

the harm that would be inflicted upon Ms. Backer. As a result of said intentional conduct, Ms.

Backer is entitled to punitive damages against Defendant Baker, in his individual capacity, in an

amount sufficient to punish him and to deter others from like conduct.

22.    The unreasonable seizure of Ms. Backer was the direct and proximate cause of bodily

injury, pain, loss of liberty, mental and emotional suffering, worry, fear, and anguish. Ms.

Backer is entitled to all of her damages in an amount to be ascertained according to proof at trial.

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                                     CLAIM 2: BATTERY
                              (State Tort — Respondeat Superior)

23.     Through its agent, Officer Baker, Defendant City of Albany is liable for an action in State

Tort.

24.     Officer Baker intended to cause harmful or offensive contact with Ms. Backer when he

twisted Ms. Backer’s arm and slammed her face into the side of her vehicle.

25.     Officer Baker’s actions directly caused a harmful or offensive contact with Ms. Backer.

26.     As a direct cause of the Defendant City of Albany agent’s action, Ms. Backer suffered

bodily injury, pain, loss of liberty, mental and emotional suffering, worry, fear, and anguish. Ms.

Backer is entitled to all of her damages in an amount to be ascertained according to proof at trial.

                     CLAIM 3: VIOLATION OF FOURTH AMENDMENT
            (Illegal Seizure; Failure to Train—42 U.S.C. § 1983—Monell Liability)

27.     Defendant Baker acted under color of state law and, as described in Claim 1, deprived

Ms. Backer of her particular rights under the United States Constitution.

28.     Defendant Baker was following a practice or custom of Defendant City of Albany to

cause the deprivation of Ms. Backer’s right to not be illegally seized. Furthering this practice,

Defendant City has either failed to train its officers to not use excessive force against individuals

or has ratified improper training on this point. Additionally, Defendant City has not properly

trained their employees on proper de-escalation techniques. These constitutional violations have

not been properly investigated, nor has the violator been disciplined, reprimanded or punished

for this incident.

29.     As a result of the above-described conduct, Defendants caused Ms. Backer to suffer

bodily injury, pain, loss of liberty, mental and emotional suffering, worry, fear, and anguish. Ms.

Backer is entitled to all of her damages in an amount to be ascertained according to proof at trial.

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                                 DEMAND FOR JURY TRIAL

30.    For all claims alleged in this Complaint, Plaintiff demands a jury trial.

                    REASONABLE ATTORNEY’S FEES AND COSTS

31.    42 U.S.C. § 1988(b) allows “the prevailing party… a reasonable attorney’s fee as part of

the costs…” in an action brought under 42 U.S.C. § 1983.

32.    Plaintiff requests that the Court grant a reasonable attorney’s fee in this action.

                                         CONCLUSION

       WHEREFORE, plaintiff prays for relief as follows:

       a. For judgment in favor of Ms. Backer against Defendants for their damages;

       b. For reasonable attorneys’ fees and costs pursuant to 42 U.S.C. § 1988; and

       c. For such other and further relief as may appear just and appropriate.

       DATED: June 30, 2020

                                                              /s/ Juan C. Chavez
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                                                              ATTORNEY TO BE NOTICED


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                                                              ATTORNEY TO BE NOTICED




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